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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  PUBLIC CITIZEN, INC., et al.,

                          Plaintiffs,
                                                       Case No. 1:25-cv-00164-JMC
                  v.

  DONALD J. TRUMP, et al.,

                          Defendants.


  JERALD LENTINI, et al.,

                          Plaintiffs,
                                                       Case No. 1:25-cv-00166-JMC
                  v.

  DEPARTMENT OF GOVERNMENT
  EFFICIENCY, et al.,

                          Defendants.


  AMERICAN PUBLIC HEALTH
  ASSOCIATION, et al.,

                          Plaintiffs,                  Case No. 1:25-cv-00167-JMC

                  v.

  OFFICE OF MANAGEMENT AND
  BUDGET, et al,

                          Defendants.


                             MOTION TO CONSOLIDATE CASES

       The government respectfully moves under Rule 42(a) of the Federal Rules of Civil Procedure

to consolidate for all purposes before this Court Public Citizen, Inc., et al. v. Trump, et al., No. 1:25-

cv-00164-JMC, Lentini, et al. v. Department of Government Efficiency, et al., No. 1:25-cv-00166-
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JMC, and American Public Health Association, et al. v. Office of Management and Budget, et al.,

No. 1:25-cv-00167-JMC In all three cases, plaintiffs contend that the Department of Government

Efficiency (DOGE) is an advisory committee within the meaning of the Federal Advisory Committee

Act (FACA), 5 U.S.C. §§ 1001 et seq., and that the requirements of that statute have not been satis-

fied. Consolidation is appropriate because, despite minor differences among the three cases, all three

actions present the same central legal issue. Consolidation would thus serve the interests of judicial

economy. Additionally, because all three actions are at the same early stage of litigation, consolida-

tion of these actions will not result in prejudice to any plaintiff.

        Pursuant to Local Civil Rule 7(m), counsel for the government contacted counsel for plain-

tiffs in each case. Plaintiffs in the three cases indicated that they oppose consolidation.1

                                           BACKGROUND

        On January 20, 2025, plaintiffs in Public Citizen, Lentini, and American Public Health Asso-

ciation all filed suit, alleging that DOGE is an advisory committee under FACA and that the require-

ments of that statute have not been satisfied. See Public Citizen, ECF No. 1, ¶¶ 56–60; Lentini, ECF

No. 1, ¶¶ 89–148; American Public Health Ass’n, ECF No. 1, ¶¶ 99–128. Plaintiffs have designated

all three cases as related to each other, and all three have been assigned to this Court, though they

remain separate cases. The government has not yet filed responses to the complaints in any of the

three cases.

                                             ARGUMENT

        Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, “a district court has authority

to order consolidation when actions involving ‘a common question of law or fact’ are pending before



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          Counsel for plaintiffs indicated that they are willing to coordinate scheduling across the
three cases. The government appreciates opposing counsel’s willingness in that respect but still be-
lieves that consolidation would provide for more efficient handling of these cases.

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the court. Consolidation pursuant to Rule 42(a) is permissive and vests a purely discretionary power

in the district court, which may consolidate related cases[.]” Nat’l Ass’n of Mortg. Brokers v. Bd. of

Governors of the Fed. Reserve Sys., 770 F. Supp. 2d 283, 286 (D.D.C. 2011). “To determine whether

consolidation is appropriate, a court should consider both equity and judicial economy.” Hanson v.

District of Columbia, 257 F.R.D. 19, 21 (D.D.C. 2009); see Judicial Watch, Inc. v. U.S. Dep’t of

Energy, 207 F.R.D. 8, 8 (D.D.C. 2002) (consolidation is appropriate where “the cases share common

issues of law or fact, consolidation would serve the interests of judicial economy, and the parties

would not be prejudiced by consolidation”); Am. Postal Workers Union v. USPS, 422 F. Supp. 2d

240, 245 (D.D.C. 2006) (“courts weigh considerations of convenience and economy against consid-

erations of confusion and prejudice” in deciding whether to consolidate actions (quoting Chang v.

United States, 217 F.R.D. 262, 266 (D.D.C. 2003))). So long as there is any common question of

law or fact, consolidation remains appropriate even in the presence of some differences between the

cases. See Nat’l Ass’n of Mortg. Brokers v. Bd. of Governors of Fed. Rsrv. Sys., 770 F. Supp. 2d

283, 287 (D.D.C. 2011) (finding consolidation appropriate where, despite differences, “there are ex-

tensive common questions of law and fact”); see also id. at 286 (“[C]ases may be consolidated . . .

where, as here, the plaintiffs are different but are asserting identical questions of law against the same

defendant.”).

       The primary question in each of the three cases is whether the DOGE is an advisory commit-

tee subject to FACA, and, if so, whether the requirements of the statute are satisfied. Given the

narrowness of the legal issues and their nearly identical nature, consolidation of these cases will

avoid duplicative review of the issues and serve the interest of judicial economy. See Mylan Phar-

maceuticals Inc. v. Henney, 94 F. Supp. 2d 36, 43 (D.D.C. 2000) (consolidating two actions brought

by different plaintiffs because they both challenged essentially the same agency action); Judicial



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Watch, 207 F.R.D. at 9 (consolidating two FOIA cases concerning “essentially identical” FOIA re-

quests because the “records released, withheld and redacted by the [agency] and the attendant legal

issues most likely will be the same in both cases”). Even if one or more plaintiffs were to amend

their complaint, the primary issue remains the applicability of FACA. Consolidating the cases, more-

over, does not deprive any plaintiff of the opportunity to respond to the government’s anticipated

motion to dismiss. Rather, consolidation assists the Court by allowing for a more efficient presenta-

tion of the issues.

        Consolidation also will not prejudice any party. Each of these lawsuits is in its earliest stages:

all three cases were filed on January 20, and the deadlines for government’s responses are weeks

away. As the government has not yet responded to the complaints in any of the three cases, there

can be no prejudice if the cases are consolidated. Moreover, the question of whether consolidation

is appropriate is wholly distinct from any question regarding the merits of the case. See Fed. R. Civ.

P. 42(a). As a matter of efficient administration, it makes sense to address all issues arising in the

litigation in one consolidated case, on one schedule, rather than in three different cases with three

sets of motions. Cf. Hanson, 257 F.R.D. at 21 (“If savings of expense and gains of efficiency can be

accomplished without sacrifice of justice, a court may find the actions merit consolidation.”) (quo-

tation marks omitted). If the cases are not consolidated, the government would needlessly be required

to devote additional resources to briefing in three separate but substantially identical cases. In addi-

tion—although the government believes it is likely to prevail at the motion to dismiss stage—to the

extent this case proceeds to discovery, keeping the three cases separate could result in the government

receiving multiple sets of burdensome discovery requests.

                                            CONCLUSION

        For the foregoing reasons, the government respectfully requests that the Court consolidate



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Public Citizen, Lentini, and American Public Health Association for all purposes. Defendant will

file, contemporaneously with this motion, a notice in those cases attaching this motion.

 DATED: February 4, 2025                             Respectfully submitted,

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                                                     ELIZABETH J. SHAPIRO
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                                                     /s/ Bradley P. Humphreys
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